a in this information to identify your case:

United States Bankruptcy Court for the:
DISTRICT OF ARIZONA

Case number (if known) _____ Chapter you are filing under:

 

|

|

| Chapter 7
|

|

4 Cl Chapter 11
de Cl Chapter 12
Cl Chapter 13

Official Form 1071

Voluntary Petition for Individuals Filing for Bankruptcy

 

 

[] Check if this an
amended filing

12117

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case-~and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a Car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 4 and the other as Debtor 2. The same person must be Debtor 7 in

all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. lf
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer

every question.

 

: Identify Yourself
About Debtor 1:

4. Your full name

 

Write the name that is on RICHARD

your government-issue d Gatname nen ne “Einanie
picture identification (for

example, your driver's .

license or passport). ‘jidde name tC=Cs—“‘s—Ss=“s—s—“—s—s~=CSstists™S~S~™S 7 _“Middiename

Bring your picture
identification to your
meeting with the trustee.

BOMBARA, JR neva inverenenmimemtisenamtueran sincerest ttt AS eT OT EA

Last name and Suffix (Sr., Jr., U1, 14)

2. Alt other names you have
used in the last 8 years

 

Include your married or
maiden names.

3. Only the last 4 digits of
your Social Security
number or federal
Individual Taxpayer
Identification number
(ITIN)

Minial Farm 104

Voluntary Petition: for Individuals Filing for Bankruptcy

“Last name and Suffix (Sr. Jr, Wi)

 

 

 

page 1
Debtor! RICHARD BOMBARA, JR Case number (if known)

 

 

 

About Debtor1:  . About Debtor 2 (Spouse Only ina Joint Case):
4. Any business names and
Employer Identification
Numbers (EIN) you have — El | have not used any business name or EINs. Cl thave not used any business name or EINs.
used in the last 8 years
include trade names and Businessname(s) a ‘Businessname(s)—s—“‘=‘=~*s*s*s*s*s*~s~s~™S a
doing business as names

5. Where you live

6. Why you are choosing
this district to file for
bankruptcy

Official Farm 101

 

 

“Number, Street, City, - —
Pinte i i
County County
if your mailing address is different from the one ___ If Debtor 2's mailing address is different from yours, fill it
above, fill it in here. Note that the court will send any | in here. Note that the court will send any notices to this
notices to you at this mailing address. mailing address.
“Number, P.O. Box, Street, City, State & ZIf PCode “Number, P.O. Box, Street, City, State & ZIP Cod e.
Check one: Check one:
over the last 180 days before filing this petition, © Over the last 180 days before filing this petition, |
i have lived in this district longer than in any have lived in this district longer than in any other
other district. _. district.
[| have another reason. (1 __ thave another reason.
Explain. (See 28 U.S.C. § 1408.) Explain. (See 28 U.S.C. § 1408.)

   

Voluntary Petition for individuals Filing for Bankruptcy page 2
Debtor1 RICHARD BOMBARA, JR a _ Case number (if known)

 
 

8.

9.

10.

41.

 

Tell the Court About Your Bankruptcy Case

 

The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy

Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
choosing to file under
i Chapter 7
Cl Chapter 11
Cl Chapter 12

C] Chapter 13

How you will pay the fee Cl twill pay the entire fee when | file my petition. Please check with the clerk’s office in your local court for more details

about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
order. tf your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address.

C] | need to pay the fee in installments. if you choose this option, sign and attach the Application for Individuals to Pay
The Filing Fee in installments (Official Form 103A).

| request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

_ Have you filed for No.

 

 

bankruptcy within the

last 8 years? [I Yes.
District cence tain tarig_cnaneneinanctnane matinee nenene catenins When ne snnpninninneecntnnecnaninanecneiinnnatn Case number ec scamctnannen ie
District ne Case number
District When Case number _

Are any bankruptcy No

cases pending or being

filed by aspouse whois [] Yes.
not filing this case with

you, or by a business

partner, or by an

 

   

 

 

affiliate?
Debtor _ _ ee _ _ Relationship to you
District / ___. When Case number, if known
Debtor __ Relationship to you _
District _ Case number, if known
Do you rent your EE No. Go to line 12.
residence?

Cl ves. Has your landlord obtained an eviction judgment against you?

Ol No. Go to line 72.

oO Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
bankruptcy petition.

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 3
Debtor1 RICHARD BOMBARA, JR Case number (if known)

 

/ Report About Any Businesses You Own as a Sole Proprietor

 

 

42. Are you a sole proprietor
of any full- or part-time No. Go to Part 4.
business?

Cl Yes. Name and location of business

A sole proprietorship is a
business you operate as Name of business, if any
an individual, and is nota
separate legal entity such
as a corporation,
partnership, or LLC.

 

If you have more than one Number, Street, City, State & ZIP Code

sole proprietorship, use a
separate sheet and attach
it to this petition. Check the appropriate box to describe your business:

 

oO Health Care Business (as defined in 11 U.S.C. § 101(27A))

oO Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

Co Stockbroker (as defined in 11 U.S.C. § 101(53A))

Cl Commodity Broker (as defined in 11 U.S.C. § 4101(6))

| None of the above

43. Are you filing under If you are filing under Chapter 17, the court must know whether you are a small business debtor so that it can set appropriate
Chapter 11 of the deadlines. If you indicate that you are a small business debtor, you must attach your most recent palance sheet, statement of
Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
you a small business in 11 U.S.C. 1116(1)(B).
debtor?
No. 1am not filing under Chapter 11.

For a definition of small
business debtor, see 11

U.S.C. § 101(51D). CI No. cam sing under Chapter 11, but lam NOT a small business debtor according to the definition in the Bankruptcy

(1 ves. | arn filing under Chapter 11 andi ama small business debtor according to the definition in the Bankruptcy Code.

 

  

| Report if You Qwn or Have Any Hazardous Property or Any Property That Needs Immediate Attention

144. Doyouownorhaveany No,
property that poses or is
alleged to pose athreat [1] Yes.
of imminent and What is the hazard?
identifiable hazard to
public health or safety?

Or do you own any ; ; a
property that needs if immediate attention is

immediate attention? needed, why is it needed?

 

 

For example, do you own

perishable goods, or

livestock that must be fed, Where is the property?
or a building that needs

urgentrepairs? crepe i . eee nee
Number, Street, City, State & Zip Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4
RICHARD BOMBARA, JR

 

Debtor 1

   
 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. If you cannot do
so, you are not eligible to
file.

if you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

- Explain Your Efforts to Receiv

About Credit Counseling

        

You must check one:

mm | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

Cl treceived a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have
a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

i certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptey, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

(lam not required to receive a briefing about
credit counseling because of:

Cl = Incapacity.
| have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

oO Disability.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after |
reasonably tried to do so.

Cl] Active duty.
fam currently on active military duty in a
military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

Case number (if known)

“About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

(1 treceiveda briefing from an approved credit

counseling agency within the 180 days before | filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

[] ! received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but | do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

- Cl Icertify that | asked for credit counseling services

from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy.

{f the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do so, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

. [1] 1am not required to receive a briefing about credit

counseling because of:

Cl] Incapacity.
| have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

Cl _ Disability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after | reasonably tried to
do so.

Cl] Active duty.
i am currently on active military duty in a military
combat zone.

if you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

 

Official Form 104

Voluntary Petition for Individuals Filing for Bankruptcy

page 5
Debtor? RICHARD BOMBARA, JR

Case number (if known)

 

 

  

: Answer These Questions for Reporting Purposes

 

46. What kind of debts do

are defined in 11 U.S.C. § 101(8) as “incurred by an

 

 

 

16a. Are your debts primarily consumer debts? Consumer debts
you have? individual primarily for a personal, family, or household purpose.”
C1 No. Go to line 16b.
I Yes. Go to line 17.
16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.
CI No. Go to line 16¢.
[7] Yes. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts
47. Are you filing under CINo,  |am not filing under Chapter 7. Go to line 18.
Chapter 7?
Do you estimate that BB yes. | am filing under Chapter 7. Do you é

after any exempt are paid that funds will be

property is excluded and

available to distribute to unsecured creditors?

stimate that after any exempt property is excluded and administrative expenses

 

 

 

 

 

 

administrative expenses No
are paid that funds will
be available for Cl Yes
distribution to unsecured
creditors?
18. How many Creditors do fl 1.49 (1 4,000-5,000 [1 25,001-50,000
you estimate thatyou =F 50.99 [1] 5001-10,000 [1] 50,001-100,000
: £1 100-199 {1 10,001-25,000 (J More than100,000
[1 200-999
19. How much do you Bi $0 - $50,000 (C1 $1,000,001 - $10 million (C1 $500,000,001 - $4 billion
oun ta assets tO 50 901 - $100,000 [1 $10,000,001 - $50 million [J $1,000,000,001 - $10 billion
. £1 $100,001 - $500,000 [71 $50,000,001 - $100 million CI $10,000,000,001 - $50 billion
(C1 $500,001 - $4 million CJ $100,000,001 - $500 million C More than $50 billion
20. How much do you ES $0 - $50,000 C1] $1,000,001 - $10 million CJ $500,000,001 - $1 billion

estimate your liabilities

to be? C] $50,001 - $100,000

[7] $100,001 - $500,000

(J $10,000,001 - $50 million
(C] $50,000,001 - $100 million

(J $1,000,000,001 - $10 billion
(] $10,000,000,001 - $50 billion

Cl $100,000,001 - $500 million Cl More than $50 billion

7] $500,001 - $1 million

i. Sign Below
| have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

 

if | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 41,
United States Code. | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

And | did not pay or agree to pay someone who is not an attorney to help me fill out this
4d read the notice required by 11 U.S.C. § 342(b).

    
 
 

If no attorney represents 7 6
document, | have obtaiged a

/ f
| request relief in cgorda nee with the chapter of title 11, United States Code, specified in this petition.

g ataise statement, concealing property, or obtaining money or property by fraud in connection with a

il understand makin
both. 18 U.S.C. §§ 152, 1341, 1519,

bankruptcy cgse dan/vesult in fines up to $250,000, or imprisonment for up to 20 years, or

|

   

 

 

A Me eee
“RICHARD-BOMBARA, JR Signature of Debtor 2
Signature of Debtor 4
Executedon (F/I! / 10% Executed on
“MM DDT YAYY MM /DD/YYYY

 

 

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 6
Debtor1 RICHARD BOMBARA, JR

 

For your attorney, if you are
represented by one

Case number (if known)

1, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility to proceed
under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter

for which the person is eligible. | also certify that | have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)

if you are not represented by
an attorney, you do not need
to file this page.

schedules filed with the petition is incorrect.

Date

 

“Signature of Attorney for Debtor

Printed name

and, in a case in which § 707(b)(4)(D) applies, certify that | have no knowledge after an inquiry that the information in the

 

‘MM /DD/YYYY

 

“Firm name

 

‘Number, Street, City, State & ZIP Code

Contact phone Email address

 

 

 

Bar number & State

 

Official Form 104 Voluntary Petition for individuals Filing for Bankruptcy

page 7
Debtor? RICHARD BOMBARA, JR Case number (if known)

 

For you if you are filing this
bankruptcy without an
attorney

If you are represented by an

attorney, you do not need to
file this page.

Official Form 101

The law allows you, as an individual, to represent yourself in bankruptcy court, but you should understand that many
people find it extremely difficult to represent themselves successfully. Because bankruptcy has long-term
financial and legal consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very technical, and a mistake or
inaction may affect your rights. For example, your case may be dismissed because you did not file a required document,
pay a fee on time, attend a meeting or hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy
administrator, or audit firm if your case is selected for audit. If that happens, you could lose your right to file another case,
or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the court. Even if you plan to pay
a particular debt outside of your bankruptcy, you must list that debt in your schedules. lf you do not list a debt, the debt may
not be discharged. If you do not list property or properly claim it as exempt, you may not be able to keep the property. The
judge can also deny you a discharge of all your debts if you do something dishonest in your bankruptcy case, such as
destroying or hiding property, falsifying records, or lying. Individual bankruptcy cases are randomly audited to determine if
debtors have been accurate, truthful, and complete. Bankruptcy fraud is a serious crime; you could be fined and
imprisoned. ,

If you decide to file without an attorney, the court expects you to follow the rules as if you had hired an attorney. The court
will not treat you differently because you are filing for yourself. To be successful, you must be familiar with the United
States Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and the local rules of the court in which your case is
filed. You must also be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal consequences?
[I No
IE Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are inaccurate or incomplete, you
could be fined or imprisoned?

CI No
IB Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
[No
Yes Naptg

Herson Mark Bluemke AZCLDP #80027

Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

  
  
   
   
 

 

  
    
 
    

By signing herd, ack dowledge that | understand the risks involved in filing without an attorney. | have read and understood
this notice, and’

¥) /aware that filing a bankruptcy case without an attorney may cause me to lose my rights or property if | do
not propery Panda

pang the case.

      
  

  

 

 

 

 

 

 

 

 

RICHARD BOMBARA, JR ~ “Signature of Debtor 2

Signature of Debtor 1

owe 12/21 Jao 7 cae a
‘MM /DD/YYYY MM /DD/YYYY

Contact phone 480-251-1647 Contact phone

Cell phone _ -_ _ Cell phone

Email address _. Email address

 

 

Voluntary Petition for Individuals Filing for Bankruptcy page 8
